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    IN TH E UNITED STATES D ISTRICT CO UR T FO R TH E SOU TH ERN
         D ISTR IC T O F FLO R ID A W E ST PA LM BEA C H D IV ISIO N

                                 C A SE N O .12-80364-C IV -M A                  N
                                                             FîLED by        D.C.i

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  ivateKORM
  OHN  AttorneANyGeneral
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                                                                           -1
                                     ) CW IL RIGHTS1983VIOLATION
AUROM LOAN SERVICES LLC;             )           FORGERY
OFFICE OF CEO,AND PRES OF AURORA;)                 USURY
AUROM BANK FSB;                      )      cw lluCONSPIRACY
M ERSCORP HOLDINGS,INC;              )       STELLIONATION
M ORTGAGE ELECTRONIC                  )     INrlqtllslc FRAUD
REGISTRATION SYSTEM S INC;           )    ATTEMPTED LARCENY
LEHM AN XS TRUST 2006-119            ) FRAUDULENT CONVERSION
LASALLE BANK N.A.asTRUSTEE;          )    CONSTRUCTIVE FM UD
U.S.BANCORP assuccessorTRUSTEE;      )     W OLATION OF FDCPA
ASSOCIATES LAND TITLE INC;           )     VIOLATION OF TCPA
THEODORE SCHULTZ,lndividual;         )     U OLATION OFFCM
LAURA M CCANN,lndividualk            )   VIOLATION OFFDUTPA
CYNTHIA W ALLACE,lndividual;         )         m ttzFRAUD
JOANN REIN,Individual;                )        w lu FRAIJD
LAW OFFICE OF DAVID J.STERN P.A.; )              UTTERING
DAVID JAM ES STERN,Esquire;           )            R.1.c.o.
K AROL S.PIERCE,Esquire;              ) FM IJDULENT INDUCEM ENT
CASSANDM M CINE-RIGAUD,Esquire; )               FALSE CLAG
M ISTY BARNES,Esquire;                )      MORTGAGE FRAUD
DARLINE DIETZ,Notary;                 ) PROFESSIO NAL NEGIGENCE
JOHN DO E 1- 100;                     )
JANE DOE 1- 100;                      )     D EM A N D FO R JUR Y
                                      )             TR IA L
                          Defendants. )        Fed.K CiV.P.38(b)
                                                /


    R ESPOND ENT'S R ESPON SE TO ORD ER TO SH OW CAUSE tD E 76)



KORM AN v AURORA A c               Page 1 of5
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            JOHN KO           (hereinafterçtlkespondenf')hereby providethisresponse
totheCourt'sOrderdatedOctober1St2012 jDE 76JrequiringRespondentto Show

CausewhytheM otiontoDismiss(DE 591.filedby KAROL S.PIERCE,Esquire
should notbe granted,and in supportthereof,Respondentrespectfully state asfollows'
                                                                                 ,

            Thiscasew asfiled April5'112012, an action againsttheD efendantsfor

theirpm icipation in awrongfulforeclosure action,which nam ed KAROL S.PIERCE,

Esquire as one ofthe D efendants.

            D efendantsa11filed aM otion to Dism iss,asdid K AROL S.PIERCE,

Esquire,w hich ispending.

            KAROL S.PIERCE,Esquireoriginally filedaM otionto Dismiss(DE 401
on July 2nd2012,asgpro seD efendant   .




            RespondentJuly 9th2012 Gled,in opposition to thisM otion to D ism iss, a

timely response gDE 501.
                       ,however,
            CounselLeon R .M arguleson behalfofKAROL S.PIERCE,Esquirefiled

aNoticeofAppearance (DE 511,subsequently also filed asecond M otion toDismiss
theVerifiedComplaint(DE 591.CounselLeonR.M arguleson behalfofKAROL S.
PIERCE,Esquiredid notfilean AmendedM otion,justGled asecondM otionto
D ism isswhich Petitioneranswered previously.




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            Respondentfailed to opposethisaforem entioned second M otion to

Dism issasRespondentalready filed a pleading in OPPOSITION TO DEFENDAN T

KAROL S.PIERCE'S M OTION TO DISW SS (DE 501.
            Respondenthasnow been madeaware(presllmptively)thatfailureto
respond (DE 591maybeamistakeoffacton thepartofRespondent,andRespondent
respectfully requestthe Courtto excuse thism istake,ifitisam istake.

            ln theeventthe Courtfindsthism istake offactisexcusable,Respondent

doeshereby oppose the second M otion to D ism isswhich w asfled by Counselfor

KARO L S.PIERCE,in supportthereofPetitionerhassubsequently filed a pleading

titled,IN O PPO SIT IO N TO K AR O L S.PIER C E 'S M O T IO N TO D ISM ISS,as a

separate pleading.

            Petitionerisofthe beliefthatthe pleading filed by CounselLeon R .

M arguleson behalfofK AROL S.PIERCE,Esquke isim proper,and should havebeen

titled asan Am ended M otion to Dism iss,which w ould havew arranted aresponse,

othelw isePetitionerdid respond to KAROL S.PIERCE,Esquire'sM otion to Dism iss,

tim ely.

            Petitionerisofthe beliefthis sim ation isone ofa mutualm istake,w hich

should be excused;how ever,

            N eitherKAROL S.PIERCE,Esquire,norCounselLeon R .M arguleson

behalfofKAROL S.PIERCE,objected totheCOUNTSwhereintheGtLAW OFFICE


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OF D AVD J.STERN ,P.A .''isim plicated,COUN T lV ,and COUN T V1l,wherein

KAROL S.PIERCE,Esquire an authorized Agentoccupied an Officetherein,atal1

tim erelevant;also,KAROL S.PIERCE,Esquire isanam ed EiDEFEN DAN T,''found in

COUN T V11,CIVIL CON SPIRACY TO COM M IT LARCEN Y .

           ln the eventthe CourtfindsfortheD efendant,Petitionerrespectfully

requestsLeavetoAmend,toconform tothepleadingsandobjections.


Respectfully submitted;




                                          B y:
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                                                 y
                                                     HN            ,R espon ent,
                                                          34 SW 2lStw ay7
                                                          oca R aton 33486
                                                           Florida U .S.A .
                                                          (561)393-0773
                                                     kormanzool@ comcast.net




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                          CERTIFICATE O F SERV ICE

TH E UNDER SIGN ED H EREBY C ERTIFIES thata true and correctcopy ofhereof
has been folw arded,to the follow ing partiesvia e-m ailto the follow ing recipients,
                                                                                    '


H AR RIS K .SOLO M ON
hv is.solomon@bhv leymorgan.com
STA CY M .SCHW A R TZ
Stacy.schwm z@ briA leymorgan.com
SpencerTew /st@tewlaw.com
StevenEllison/sellison@broadandcassel.com
Iweon R.M argules/marguleslaw@ yahoo.com
on this 5thday ofOctober, 2012.

                                                   John K orm an
                                                  934 SW 21* W ay
                                           BocaRaton,Florida 33486
                                                  (561)393-0773
                                           korm anzoo     c   c st.nvt


                                       B y:
                                              '
                                                  J n K orm an




KORM AN v AUROM & c                  Page 5 of5
